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        UNITED STATES DISTRICT COURT FOR THE DISTRI~ftlbtPrrtXH A ({: 38
                          CENTRAL DIVISION            Dl~; r;.,; ; i ;- U Jdl

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                                                      )
   Jared Osborn and Vanessa Osborn,                   )
                                                      )
                                                      )
                 Plaintiffs,                          ) ORDER AND FINAL JUDGMENT
                                                      )
          vs.                                         )
                                                      ) Case No. 2:12-cv-00775-TC
   Charles Craig Brown; CC Brown Law, LLC;            )
   Wilford T. Lee; WT Lee & Associates; John          )
   McCall; Chad Gettel; Kasey Rasmussen; Utah         ) Judge Tena Campbell
   Litigation Counselors; JL Martin Law Group;        )
   Century Law; LegalSupportLine.com; Sentry          ) Mag. Judge Evelyn Furse
   Law; and Doe Defendants 1 through 20,              )
                                                      )
                  Defendants.                         )
                                                      )



          The Court, having considered the parties joint moving papers, and finding good

   cause therefore, hereby GRANTS the Motion, and ORDERS, ADWDGES, and

   DECREES that:

          1.     Judgment is entered against W.T. Lee, W.T. Lee & Associates, and Kasey

   Rasmussen, jointly and severally, in the amount of $11,320.00.

          2.     The parties shall bear their own costs and fees.

   Dated _ _t£/_,__-~9'-----' 2015.

                                                BY THE COURT




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                                                Hon. Tena Campbeli
